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COLLATERAL AGENCY AND SERVICING AGREEMENT

 

BARD MONEY COMPANY, LLC,
as Collateral Agent and Loam Servicer,

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“Ss

EACH OF THE LENDERS PARTY HEBETO

DATED as or {7520

 

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GOLLATERAL AGENCY AND SERVICING AGREEMENT

This COLLATERAL AGENCY AND SERVICING. AGREEMENT (as amended,

; supplemented or otherwise modified from: time to time, this “Agreement ”) is made as of
“y ee . by and. among (i) Hard Money Company, LLC, a Florida: limited
liability company (in its individual capacity, “HMC”, and in its capacity as collateral

agent for the Lenders (as defined below), and in its. capacity as loan servicer for the

Lenders, the “Collateral Agent” or the “Servicer”), and (il) each of the Lenders party

hereto (together with their respective successors and assigns as beneficiaries of the Note

(as defined below), the “Lenders”), and is acknowledged, consented and agreed. to by

EquityBuild, Inc., a Florida:corporation (the “Company” or the “Borrower’}.

RECITALS

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A. Reference is made to that certain Note, dated _ (as the same from

time to time hereafter may be amended, restated, supplemented or otherwise modified,
the “Note”) by the Company in favor of the Lenders, pursuant to which, subject to the
erms and eonditions set forth. therein, the Lenders. shall make certain. loans to the
Company (the “Lieans”).

B. The Lenders have agreed to make. the Loans. to the Company, but only upon the
condition, among:others, that the Company. grant to the Collateral Agent, for the benefit
of the Lenders; as: security. for. the Company’s obligations. tothe Lenders. and: the
Collateral Agent under. or in respect of the Note and the Mortgage (as defined below), a
perfected lien on, and security interest in; the Collateral (as defined below).

(. The Lenders desire that IWMC act-as the collateral agent for. and. on behalf of all
of the Lenders regarding the Collateral, all as more fully provided. herem: and: the
Collateral. Agent and the Lenders have entered into this Agreement to, among. other
things, further define the rights, duties, authority and responsibilities of the Collateral
Agent and the relationship among the Lenders regarding their pari passu mterests in the
Collateral.

D. The Lenders also desire to:retain HMC as the loan servicer to act as their agent to
employ cotimercially reasonable and prudent practices to collect all: scheduled payments
on the Loans, and to protect to the best of the Servicer’s ability, the security for the Loan.

AGREEMENT

NOW, THEREFORE, in consideration of the foregoing premises and for other
good aiid valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, HME and the Lenders agree as follows:

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1. DEFINED TERMS.

As used in this Agreement, and unless the context requires:a different meaning, the
following terms have the respective meanings indicated below, all such definitions to be
equally applicable to the singular and plural forms of the terms defined:

 

Actionable Default — means the existence and continuance of any. Event of Default
{as defined in the Note) beyond any grace period in respect thereof provided in the Note
or the acceleration of the maturity of the Note.

Ajjiiiate’ — means, with respect to any ‘specified:Person; any other Person. that
directly or indirectly, through one ‘or more intermediaries, has control-of, is controlled by,
o or is under common control with, such specified Person. For these purposes, “control”
% means the possession, directly or indirectly, of the power to direct or cause the direction
of the management of any Person, whether through the ownership of voting ‘securities, by

contract or otherwise.

Agent: Professionals — means attorneys, legal counsel, accountants, -appraisers,
business valuation experts, environmental engineers, tumaround consultants, or other
professionals or experts at any time retained by HMC in the discharge of its duties
hereunder or under any of the Collateral Documents.

Agent-Related Persons ~ means HMC, in its capacity.as:Collateral’-Agent: or
Servicer, and any successor collateral agent or loan servicer; and any co-agents or
separate agents appointed pursuant to Section 5, together with their respective A filiates,
and the officers, directors, employees, representatives, agents and Agent Professionals of
such Persons and Affiliates.

Agreement —has the meaning specified for such term in-the Preamble hereto.

a Business Day ~ means a day (i) other than Saturday or Sunday and (ii) on which
: commercial banks are open for business in New York, New York.

Collateral — has the meaning specified for such term in Mortgage.
Collateral Agent — has the meaning specified for.such term:in the Preamble hereto.
ges Collateral Documents — means the: Mortgage and. any other document now or
: hereafter evidencing a security interest, lien or other encumbrance granted to secure the
obligations payable under the Note or any guarantee thereof.

Company — has the meaning specified for such term in the Preamble hereto.

Enforcement Notice — means a written notice given by the Required Lenders to the
Collateral Agent stating that an Actionable Default exists.

AMC-~ has the meaning specified for such term in the Preamble hereto.

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Leaders ~ has the meaning specified for such term im the Preamble hereto.
Liens ~ means any pledges, liens, claims, encumbrances or security interests.
Mortgage — has the meaning specified for such term in Note.

Obligations — rcans and includes all present and future indebtedness, obligations
and liabilities of every kind and nature of the Company from time to time owed to any
Lender under the Note arising from, evidenced by or relatitig to the Note or the Mortgage.

Note —has the meaning specified for such term in Recital A hereto.

Person — means any individual, partnership, corporation, limited liability company,
unincorporated organization or association, trust or other entity.

Required Lenders — means the Lenders acting by a majority of principal advanced
by the Lenders under the Note.

Servicer — has the meaning specified in the Preamble hereto.
2, APPOINTMENTS; DRREVOCABLE. DELEGATION OF AUTHORITY.
(a) Appointment as Collateral Agent and Loan Servicer.

The Lenders: hereby appoint and designate HMC as.collateral agent-on their behalf
hereunder and under the Mortgage.. The Lenders hereby also appoint and designate HMC
as the loan servicer with respect to the Loans... HMC hereby accepts. such appointments
on the terms and conditions set forth herein and acknowledges that it holds the Collateral
and acts under the Mortgage as agent for and on behalf of the. Lenders... The.Lenders
hereby authorize and direct the Collateral Agent to (a) enter into the Mortgage and the
Note for and.on behalf of.and for the benefit-of the Lenders in accordance with the terms
hereof and thereof; (b) exercise such rights and powers under this Agreement, the Note or
ihe Morigage as the case may be, as are specifically granted or delegated to the Collateral
Agent by the terms hereof and thereof, together with.cuch other-righis and powers as-are
reasonably incidental thereto. or as. are. customarily. and typically exercised. by agents
performing ‘duties similar-to the duties of the Collateral Agent hereunder-and under the
Collateral Documents, subject, however, to any express limitations set forth herein of in
the Mortgage, and (c) perform the obligations of the Collateral Agent thereunder. The
Lenders hereby agree to be bound by the provisions of the Mortgage andthe Note: The
duties of the. Collateral Agent and the Servicer shall be deemed: ministerial -and
administrative in nature, and neither the Collateral Agent nor the Servicer shall have, by
reason of this Agreement or either of the Mottgage or the Note, a fiduciary relatienship
with any Lender and/or any Affiliate thereof.

 

4 (b) Irrevocable Delegation of Authority.

Hach: Lender does hereby irrevocably delegate to: the Collateral Agent all of each
such Lender’s rights and powers under. the Note and ‘the Mortgage and agrees ‘for the

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benefit of the.Collateral Agent.and the other Lenders not.to exercise any right or power of
such Lender under the Note or the Mortgage.

3. LIMITATIONS ON DUTIES AND ACTIONS OF COLLATERAL AGENT AND
THE SERVICER.

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Neither the Collateral Agent nor the Servicer shall have any. duties or.responsibilities
except. those expressly. set. forth. in this. Agreement..and. the. Mortgage. Neither. the
Collateral Agent nor the Servicer shall be liable for any.action taken or omitted by it, or
any action suffered by it to be taken or omitted, excepting only its own gross negligence
or willful misconduct, as ‘finally determined by a court.of competent-jurisdiction. IN
THE ABSENCE OF WRITTEN INSTRUCTIONS FROM THE REQUIRED LENDERS,
NEITHER THE COLLATERAL AGENT: NOR THE SERVICER SHALL FORECLOSE
UPON ANY LIEN WITH-RESPECT TO ANY. OF-THE COLLATERAL-:OR TAKE
ANY OTHER ACTION WITH RESPECT TO THE COLLATERAL OR ANY PART
THEREOF.

 

4. RECOURSE THROUGH COLLATERAL AGENT; SHARING OF
COLLATERAL.

(a) Recourse Through Collateral Agent.

Each of the Lenders acknowledges and agrées that (1) it shall only have recourse to
the.Collateral through the Collateral Agent and that it shall have no independent recourse
to the Collateral and (i) the Collateral Agent shall have no obligation to, and shall not,
take any action hereunder or under the Mortgage except upon written instructions from

ao the Required Lenders m accordance with Section 6(a).

(b) Sharing of Collateral.

No Lender shall contest the validity, perfection, priority or enforceability of, or seek
to avoid, any Lien securing any Obligation, and each party hereby agrees to cooperate, at
no cost:to the Collateral Agent,.in the defense of any. action contesting. the validity,
perfection, priority or enforceability of any such Lien. No Lender shall have the right to
obtain any of the Collateral-or the benefit of any Lien on any property of the Company
solely in respect of Obligations owing to such Lender or any group of Lenders comprised
of less than all the Lenders.

5. (CO-AGENTS; COLLATERAL AGENT’S AND SERVICER’S USE OF
PROFESSIONALS.

(a) Co-Agents.

Each of the Collateral Agent and the Servicer shall have power to appoint one or
more Persons to act as a co-agent or co-agents, jointly with the Collateral. Agent and/or
the Servicer, or to act as a separate agent or separate agents, with respect to all or any part
of the Collateral-or to enforce the: Lender’s rights ander the Note, and to vest in such
Person or Persons, in such. capacity, such rights, powers, duties. and obligations of the

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Collateral Agent and/or the Servicer; with the consent of the Required Lenders (such
consent not to be unreasonably withheld or delayed), in any case only as may be
necessary or desirable for the purpose of meeting any legal requirements of any
jurisdiction in which any part of the Collateral may at the time be located. Absent any
specific agreement to the ‘contrary, any co-agent or cO-agents or separate agent or
sepatate agents so appointed shall, to the extent applicable, have the rights, powers,
obligations and duties of the Collateral Agent and/or the Servicer hereunder, Neither the
Collateral’ Agent nor the Servicer shall be responsible for the negligence, default or
misconduct of any such co-agent or separate agent selected by it with reasonable care nor
for any fees or expenses of such co-agent or separate agent.

(db) Agent Professionals.

The Collateral Agent and the Servicer may employ one or more Agent Professionals
to advise or assist it from time to time, but shall not be résponsible for the negligence,
default or misconduct of any such Agent Professionals selected by it with reasonable care.
The Collateral Agent and the Servicer shall be entitled to rely on the advice and
statements of Agent Professionals: so selected: The Company shall pay reasonable
remuneration for all services performed by Agent Professionals for the Collateral Agent

4 and the Servicer in the discharge of its duties hereunder and. under the. Collateral
“= Documents in accordance with Section 11(b) hereof.

6. INSTRUCTIGNS FROM LENDERS; ENFORCEMENT NOTICE.
(a) lastructions from leaders.

Unless otherwise excused as provided herein, both the Collateral Agent and the
Servicer shall'act on_all written instructions received from the Required Lenders, with
respect to any action to. be taken or not to be taken in connection with this Agreement, the
Mortgage or the Note, including, without limitation, actions to bé taken in connection
with an insolvency proceeding in respect of the Company; provided, however, that the
Collateral Agent shall act only on written instructions from all Lenders with respect to the
amendment or termination of the Mortgage, or, except'as provided in the Mortgage, any
Lien on property of the Company granted under the Mortgage. If either the Collateral
Agent or the Servicer shall request instcuctions. from the Lenders. with.respect to taking
any particular action in connection with this Agreement, the Mortgage, the Note or.any ~
such Lien, the Collateral Agent and the Servicer shall be entitled to refrain from taking
such particular action unless and until ¢ shall have received written instructions frora the
Required Lenders (im which event it-shall be required to act. in accordance with such
written. instructions. unless otherwise excused as..provided herein), and neither. the
Collateral: Agent nor the Servicer shall incur any liability to any Person for so refraining.
Without limiting the foregoing, no Lender shall have. any right of action whatsoever
against the Collateral Agent or the Servicer asa result of the Collateral Agent. or the
Servicer taking or not taking any action hereunder or pursuant to.or in accordance with
the written instructions of such Required Lenders, except for the Collateral Agent's or the
Servicer’s own gross negligence or wilful misconduct in connection. with any action
taken or not taken by it, as. finally detenmined by a. court of competent jurisdiction.

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Notwitsiencige emviiiee tothe comtrary contaimed m this .verecment-or any of the
Collateral Documents, (4)-the failure of the Collateral. Agent.or the Servicer to take any
action. shall not constitute gross negligence or wilful misconduct by the Collateral Agent
or the Servicer. hereunder (A) following a request by the Collateral Agent or the Servicer
for the Requiréd Lenders’ consent to such action and the failure of the Required Lenders
to respond to’such request or (B).in the absence of written instructions from. the Required
Lenders and (ii) neither the Collateral Agent nor the Servicer shall be required to take any
; action that is,.in its: opinion. (which may be, but is not required to be, based on the advice
* of legal counsel), contrary to applicable law.or.the Note or the Mortgage or.that would, in
its reasonable opinion, subject. it or any. Agent-Related Persons.to liability. or that would
require it to expend or risk its own funds.

(b) Enforcement Notices.

The. Collateral. Agent. shall, as soon as. practicable. but.in any event,.if applicable,
within ten (10):Business Days following receipt thereof, furnish to:each of the Lenders:

 

(i) a. copy of each Enforcement Notice.received by the Collateral Agent;

(ii) a copy of each certificate or other written notice received by the Collateral
Agent rescinding or withdrawing an Enforcement Notice;

(iii) a. copy. of any. written. notice or other written communication given or
received by the Collateral Agent under the Note or the Mortgage; and

(iv). such other written notices required by the terms of this Agreement to be
furnished by or to the Collateral Agent.

Any Enforcement Notice shall be deemed to have been given when actually received
by the Collateral Agent and to have been rescinded or withdrawn when the Collateral
Agent has actually received from the notifying party a written notice rescinding or
withdrawing such Enforcement Notice. Any Enforcement Notice shall be deemed to be
outstanding and ‘in effect at all times after such notice has been given until such time, if
any, a5 such notice has been rescinded or withdrawn.

7. NO RESPONSIBILITY OF COLLATERAL AGENT OR SERVICER FOR
CERTAIN MATTERS.

Neither the Collateral Agent nor the Servicer shall be responsible in any manner
whatsoever for the correctness of any recitals, statements, information, representations or
warranties contained herein or in the Mortgage except for those made by it herein,
Neither the Collateral Agent nor the Servicer makes any representation or warranty-as to,
and is not responsible in any way for: (1) the description, value, location, existence, or
condition of any Collateral; (ii) the financial condition of the Company or the title of the
Company to’ any of the Collateral; (iii) the sufficiency of the security afforded by this
Agreement, the Note or the Mortgage or whether registration in respect thereof has ‘been
properly effected or maintained; (iv) the validity, genuineness, correctness, perfection, or
priority of any Lien with respect to the Collateral; (v) other than in respect of itself as to

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the. Collateral Agent’s and the Servicer’s representations in Section 15(p) hereof, the
walidity, proper execution, enforceability, legality, or sufficiency of this Agreement, the
Note, the Mortgage or any instrument deposited with the Collateral Agent or the Servicer;
(vi) the identity, authority or right of any Lender executing any document, or (vil) the
filing or renewal of any registration of the Mortgage or any public filing required under
applicable law to perfect any of the Collateral Agent’s Liens, for the benefit of the
Lenders, in any of the Collateral. Neither the Collateral Agent nor the Servicer shall be
required to ascertain or inquire as to the performance by the Company of any of its
covenants-or obligations hereunder or under the Mortgage or the Note. Inno event shall
either the Collateral Agent or the Servicer be responsible or liable for special, indirect, or
consequential foss.or damage-of any kind whatsoever (including, but not limited to,.loss
of profit) imrespective of whether the Collateral Agent or the Servicer has been advised of
the likelihood of such loss or damage and regardless of the form of action.

8. LIMITED. DOUTIES ... OF... COLLATERAL AGENT |... REGARDING
COLLATERAL: FURTHER ACTS WITH RESPECT TO COLLATERAL.

(a). The Collateral Agent shall not be responsible for msuring any of the Collateral
or for. the payment. of taxes, charges, fines, levies, assessments or for ensuring. or
protecting the validity, genuineness, correctness, perfection, or priority of any Lien upon
ge any of the Collateral, and shall. be indemnified therefor as provided in Section 12.
os ' ‘Puthermore, the Collateral Agent shall not be responsible for the ‘maintenance. or
ee * gafeguarding of any Collateral, except as provided in the mmmediately following sentence
when the Collateral Agent has actual possession of any Collateral. The Collateral Agent
shall not have any duty to any of the Lenders with respect to any Collateral, imecluding,
without limitation, any Collateral in its possession or control or in the possession or
control of any agent or nominee of the Collateral Agent selected by it with reasonable
care,.or any giceme therefrom or for the preservation of rights agamst prior parties or any
other rights pertaining to the Collateral, except as stated im the next succeeding paragraph.

(b) Beyond the exercise of reasonable care in the custody. thereof andthe. duty to
account for monies actually received by it, the Collateral Agent shall have no. duty as to
any Collateral in its possession or control or in the possession or control of any agent or
ballee of any imcome (mercon or as to preservation of riguts agamst prior parties or amy
other rights pertaining thereto and the Collateral Agent shall not be responsible for filing
any Tinancitig or continuation statements or recording any documents or instruments im
any public.office at.any. time or.times or. otherwise perfecting or mainiaining. the
perfection.of any security. interest.in the Collateral... The Collateral Agent shall: be
deemed .to.-have. exercised reasonable care in the custody..of the Collateral in. its
possession Hf the Collateral. is accorded treatment substantially equal to that which it
accords its own.property and:shall not be liable or responsible for any loss or diminution
in the value of any.of the Collateral, by reason of the act or omission of any carrier,
forwarding agency or.otber agent or bailee. selected. by. the Collateral, Agent. with
reasonable care... The Collateral. Agent shall not be responsible for the existence,
genuineness-or value of any of the Collateral or for. the validity, perfection, priority or
enforceability of the Licns in any of the Collateral, whether impaired by operation of law
or by reason of any action or omission to act on its part hereunder, except to the extent

 

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such action or omission-constitutes gross negligence, bad faith or willful misconduct on
the. part of the Collateral Agent, or for the validity or sufficiency of the Collateral or any
agreement or assignment contained therein, for the validity of the title of the Compariy to
the Collateral, for imsuring the Collateral or for the payment of taxes, charges,
assessments or Liens upon the Collateral or otherwise as to the maintenance of the
Collateral:

9. DUTIES AS LOAN SERVICER.
(a) Specific Loan Services/Functions.

In ils: capacity as the Servicer, HMC shall: (a) issue payment coupons: or:monthly
Statements to the Borrower directing Loan repayment to the’ Lenders ‘orthe Servicer;
(byissue: payoff demands, ‘beneficiary statements and mortgage ratings: (c) demand,
teceive and collect all: Loan payments, deposit them: by the next business day into the
Servicer's trust account and/or facilitate having them paid directly to Lender, in cach tase
within 25 days of the date due; (d) issue annual Form 1099 income tax statements-to the
Borrowet and Lenders; (c) answer Borrower inquiries, demands and requests; (f) grant
appropriate payment deferrals, but not of the maturity of the Loan unless approved by the
Required Lenders; (g) monitor the continued effectiveness and claims on any property
insurance listed in the Loan escrow instructions; (h) request and receive notices of default
on senior liens; (1) receive notices of property tax delmquencies, should a tax service be
ordered through escrow. or subsequently, and (j) execute and deliver on Lenders’ behalf
and in Lenders’ name any documents necessary or convenient for the purpose of
meintaining of enforcing the Loan.

(b) Protective Advances.

Upon request of the Servicer, Lenders shall make such advances as:approved by the
Required Lenders to be necessary and prudent to protect and to collect Lenders” interest
in the Loan. Hany Lender fails to make advances approved by the Required Lenders, the
: other Lenders ‘are authorized to advance the amount the non-paying Lender failed to
re “. advance and to receive payment in full with interest at 10% per annum before any further
a0 =. ‘payments are made to the non-paying Lender and; the non-defaulting Lenders shall also
have the option, exercisable within 30 days after Lender’s failure to pay, to purchase such
Lender's interest in the Loan for the outstanding principal balance and any accrued
interest, fees and costs owed to thé defaulting Lender, payable within 1S days ‘after the
election to purchase is made. The Servicer, in its absolute discretion, may advance its
own funds to protect the security of the Loan, including advances to cure senior liens,
property insurance, foreclosure expenses, repair, acverusing, ltieation expenses and
similar items, but not Loan payments. The Servicer shall be reimbursed such advatices,
with interest al-the interest rate then payable with respect to the Loan; from the next Loan
payment, or within 10 days after a written request to Lenders. To secure the Servicer’s
advances, Lenders hereby irrevocably assign to the Servicer, to the extent of advances
owed to the Servicer, the first Loan payments received after an advance is made, A
defanlimg or non-paying Lender will be liable to the remaining Lenders for all damages
incurred as result of his/her/their failure to act or failure to advance funds including, but

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not limited to, actual attorneys’ fees, court costs and fees, or any damages related to loss
of the security for the Loan.

(c) Lean Decaments.

Ta the extent not maintained by the Collateral Agent, the Servicer shall retann
custody as agent for Lenders of the origmal Note and Mortgage.

(d) Real Estate Qwaed.

The Servicer is also Lenders’ agent (in conpinction with the Collateral: Agent) to

liquidate any real estate acquired by Lenders in foreclosure of the property securing the

Loan (the “Preperty”). During the foreclosure process, the Servicer’s servicmg fee shall

continue as set forth in Section 12 herein. Additionally, at the option of Lenders and by

separate fee agreement to be signed by the parties; the Servicer shall: () arrange

appropriate property insurance; (i) manage the. Property, including. arranging

mainienance and construction, tenant relations, repair and security; (iii) arrange for the

valaation and resale of the Property, mcluding hirmg a Realtor® or broker to list, show

and sell the Property, and (iv) accept reasonable offers on the Property, at the price and

4 terms approved ‘by the Required Lenders ‘aad execute all necessary and appropriate
documentation to carry out the sale.

fe) Serviciig Fees.

The Servicer's fee to service any Loan-shall be up to 3% of the principal amount
thereof The fee ig included in the inierest rate payable by the Borroweramder. the Note
and is not charged to the Lenders. ‘The Servicer shall be further compensated for work im
respect of delinquent payments or other default by Borrower by assessing and receiving
late charges, and by collecting an additional 2% of any payments (whether interest or late
fees) made to Lenders (or for their benefit) after the assessment of default interest on the
Borrower under the Mote. Said additional amounts shall only be collected if delault
interest is, in- fact, charged to the Borrower, . Lenders shall receive any benefit of the
default interest rate ‘and late fee payments in excess of the 2% collected by the Servicer:

10. RELIANCE ON WRITINGS.

% Both the Collateral Agent and the Servicer shall be entitled and fully authorized to
rely and act, and shall be fully protected in relying and acting, wpon any. writing,
pisiruction, resolution, molice, consent, certificate, affidavit, ictter, telegram, facsimile,
telex or other document believed by it to be genuine and correct and to have been signed
or sent by or on behalf of the proper Person or Persons, and statements of the Company
Gnclading; without. limitation, counsel to the: Company) or the Lenders... Neither the
Collateral Agent nor the Servicer shall have any duty: to verily or confirm the content of
any writing, justruction, resolution, molice consent, certificate, affidavit: letter; telegram,
facsimile, telex or other document.

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il. RESIGNATION AND REMOVAL OF COLLATERAL AGENT AND/OR
SERVICER.

(2) Resignation or Removal.

Both the Collateral Agent and the Servicer may af any ume resign, effective upon 30

days prior swritien notice (or such shorter period as may be agreed to by the Required

Lenders: and such: party) to the Lenders and the Company, and-cither may-be removed for

or without cause at any time by the Required Lenders, effective upon 30 days notice. In

the event of any resignation. or removal, the Required Lenders shall have the right to

appoint a successor Collateral Agent and/or Servicer (which successor Collateral Agent

and/or Servicer may be one of the Lenders or. a financial institution that is engaged in the

provision. of. agency. services im syndicated cormmercial loan. transactions. or a trust

company that is engaged in the provision of trust services in secured private placement

transactions), but, aif the Required Lenders have not appointed a successor Collateral

Agent and/or Servicer, as the case may be, within 30 days alter. the resigning Collateral

“Se ~ Agent’s and/or Servicer’s giving. of notice: of resignation. or ils removal, the retiring

. © Collateral: Agent. and/or. Servicer,.as the case may. be, shall; at the expense of the

Company, on behalf of the Lenders, subject to the above provision regarding the identity

and nature of a permissible successor Collateral Agent and/or Servicer, either appoint a

successor Collateral Agent and/or Servicer or apply to the appropriate court to make such

appointment. Upon the acceptance of any appointment as a Collateral Agent. and/or

Servicer, as the case may be, hereunder by a successor, to be evidenced by the successor

Collateral Agent’s or Servicer’s, as the case may be, execution and delivery fo: the

Company, the Lenders and the retiring: Collateral Agent and/or Servicer, as the case may

; be, ofa counterpart of this Agreement, such successor Collateral Agent and/or Servicer,

y as the case may be, shall thereypon succeed to and become vested with all-the rights,

powers, privileges, duties and obligations of the retiring Collateral Agent and/or Servicer,

as the case may be, and the retiring Collateral Agent and/or Servicer, as the case may be,

shall be discharged from any further duties and obligations as Collateral Agent and/or

Servicer, as the case may be, as appropriaic, under this Agreement, the ‘Note and: the

Mortgage. The payment and indemnity obligations of the Company provided for in

Section 12 shall survive any such removal of resignation in favor of the retiring Collateral

Agent and/or Servicer, as the case may be, in respect of any matter arising during or after

its tenure as Collateral Agent and/or Servicer, as the case may be. For the avoidance of

doubt, removal hereunder of HMC ‘as the Collateral Agent in no way constitutes a
removal of HMC as the Servicer and vice versa:

(b) Vesting.

Upon the request of any successor Collateral Agent and/or Servicer, at the expense
of the Company, the Lenders, the Company and the predecessor Collateral Agent and/or
Servicer, as the case may be, shall promptly execute and deliver such instruments,
conveyances, and assurances reflecting terms consistent» with the: terms: hereof, the
Mortgage: and ‘the Note for the purpose of more. fully and certainly vesting and
confirming in such successor Collateral Agent and/or Servicer, as the case. may. he, its

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interest in, a6d-Liens upon, the Collateral and all rights, powers, duties, and obligations
of the predecessor Collateral Agent and/or Servicer, as the case may be, hereunder and
under the Mortgage and the Note, and the predecessor Collateral Agent and/or Servicer,
as the case may be, shall also promptly assign and deliver to the successor ‘Collateral
Agent and/or Servicer, as the case may be, any Collateral subject to the Liens of the
Mortgage that may then be in its possession, as applicable.

fe). Successors.

Aviy entity into which a Collateral Agent or Servicer may be amalgamated or merged,
= or with which it may be consolidated, or any entity resultmg from any amalgamation,
oe merger or consolidation to which a Collateral Agent or Servicer shall be a party, as a
: whole or substantially as a whole, shall be the successor of such Collateral Agent or
Servicer hereunder if legally bound. hereby as such successor, without the necessity for
execution or filing of any paper or any further act on the part of any of the parties hereto,
anything to the contrary contained herein notwithstanding.

12. FEES TO.COLLATERAL AGENT; PAYMENTS; INDEMNITY.
fa) Pees,

The Company shall pay all fees required to be paid to the Collateral Agent under the
Fee Schedule attached hereto as Schedule 1] with respect to this Agreement at the times
and m the amounts set forth therein.

(>) Payment by the Company.

: The Company agrees that it will pay all of the Collateral Agent's and the Servicer’s
ie fees, as applicable, for its respective services hereunder and will pay or reimburse the
ae Collateral Agent and the Servicer upon its request for all of their respective expenses,
disbursements and advances incurred. or made in the administration of their respective
duties hereunder and under the Note and the Mortgage, as applicable Gncluding, without
limitation, reasonable legal fees and expenses and the reasonable compensation of all
Agent Professionals, Agent-Related Persons and other advisers, agents: or experts
employed or retained by the Collateral Agent or the Servicer pursuant to this Agreement).
In addition to-and without limiting any other protection of the Collateral Agent and/or the
Servicer hereunder or otherwise by law, the Company shall mdeminify the Agent-Related
Persons for any and all Habilities, obligations, losses, damages, penalties, actions, claims,
demands, judgments, suits, costs, expenses. or disbursements of any kind or nature
whatsoever that may. be. suffered by, imposed on, incurred by or asserted against any
Agent-Related Person, whether groundless or otherwise, howsoever arising from or out
of. orin any way related to the subject matter of, this Agreement, the Note, the Mortgage
or. any of the Collateral or the performance or enforcement of any of the terms of any
thereof, including fees and expenses of special counsel; provided that the Company shall
not be liable for any such payment to. any Agent-Related Person to the extent the
obligation to make such payment has been caused by such Agent-Related Person's own
gross ‘negligence. or wilful misconduct,.as finally determimed by a court of competent

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jurisdiction. -All statements from the. Collateral Agent, the Servicer or any other Person
for obligations owing by the Company pursuant to the preceding sentence shall be sent to
the Company. .Any amount due under this Section 12(b) and unpaid 10 Busmess Days
aiter request or such payment will bear mterést from the expiration of such 10 Business
Days at a rate per annum equal to two percent, (2%) above the rate of interest publicly
announced by JPMorgan Chase Bank, N.A. from time to time im New York City as is
prime rate, payable on demand. If not timely paid by the Company, at the Collateral
Agent’s or the Servicer’s election, all amounts so payable and the interest thereon will be
payable out of any assets im the possession of the Collateral Agent and/or the Servicer
and any other Collateral in priority to amounts owing to any and all other partics to this
Agreement =

ic). Survival.

The obligations of the Company under this Section 12 shall survive the payment in
full of all of the other Obligations, the resignation or removal of the Collateral Agent
and/or the Servicer and the termination of this Agreement,

13. COLLATERAL AGENT’S AND SERVICER’S FUNDS NOT AT RISK.

For purposes of clarity, no provision of this Agreement or the Mortgage, and no
request.of any Lender or otber Person. shall require either the Collateral Agent or the
Servicer to expend or risk any of its own funds, or to take any legal or other action under
this Agreement, the Note or the Mortgage which might, im its reasonable judgment,
involve any expense or any financial.or other liability unless the Collateral Agent or the
Servicer shall be furnished with indemmification acceptable to.it, acting reasonably,
including the advance of funds sufficient in the judgment of the Collateral Agent or the
Servicer, as applicable, to satisfy such lability, costs and expenses:

14. INDEPENDENT CREDIT DECISIONS.

Each. Lender acknowledges that it has, imdependently and without reliance upon the
Collateral Agent, the Servicer or any other Lender and based upon such documents and
information as. it has deemed appropriate, made its own credit analysis and decision to
enter into this Agreement... Each Lender also acknowledges that it will, independently
and without reliance upon any of the Collateral Agent, the Servicer or any other Lender
and based upon such documents and information: as it shall deem appropriate at the time,
continue to make its own credit decisions in. taking or mot taking action under this
Agreement.

15. DETERMINATION OF LENDERS: SUBSEQUENT LENDERS BOUND.

The Collateral Agent and the Servicer may deem and treat the payee of any
promissory. nete or other evidence. of indebtedness or obligation relating to any
Obligation 2s the owner thereof for all purposes hereof unless and until (i) a written
nouce of the assignment or transfer thereof signed by such payee and (i) a written
acknowledement agreeing to be bound by the terms hereof and such other documents
required by Section 16(d), each signed by. the assignee or transferee, and in form

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reasonably. satisfactory to the Collateral Agent and/or the Servicer, shall have been filed
with the Collateral Agent and/or the Servicer, as applicable... Any request, authority or
consent of any Person who at the ime of making such request or giving such authority or
consent is the holder. of any such note or other evidence of indebtedness or obligation,
shall be.conclusive and binding on any subsequent holder, transferee or assignee of such
note: or other evidence of indebtedness or obligation and of any note or notes or. other
evidences of indebtedness or obligation issued in exchange therefor.

i¢.. MISCELLANEOUS.
fa) Motices.

All notices, requests and other communications shall have been duly given and shall
be effective (a) when delivered by hand, (6) when transmitied via telecopy or email (or
other facsimile device) with receipt confirmed with respect to telecopy, (c) the Business
Day next following the day on which the same has been delivered prepaid to a reputable
national overnight air courier service, or (d) the third Busmess Day next following the
day on which the same is sent by certified or registered mail, postage prepaid, in each
case to the respective parties at the address, telecopy number-or email address: as
provided im the inumediately succeeding sentence; provics
delivered on a-day other than-a Business Day, or after 5:00 P/M. (Eastern time) on any
Business Day, then such notice shall not be effective until the next Business Day. For
purposes hereof, the address of each party hereto and its facsimile number or email
address (until written notice of a change thereof is delivered to the Collateral Agent, the
Servicer, the Company and ‘each Lender) shall be as set forth in Schedule Ht hereto, or at
such other address as such party may specify by written notice to the other parties hereto.
Notices to amy Person that becomes.a holder of Obligations after the date hereof shall be
given to such address or facsimile number or email address of which such Person shall
have given written notice to the Collateral Agent, the Servicer and the Company.

 
 

() Amendments.

No provision of this Agreement may be amended or waived except by a writing
signed by the Required Lenders, the Collateral: Agent and the Servicer; provided.
however, that any amendment expanding the obligations or liabilities of the Company
either hereunder or thereunder shall require the Company’s consent.

(c) Conflicts with Collateral Documents and other Transaction Documents.

The Collateral Agent, the Servicer and the Lenders agree that, a any provision of
this Agreement is inconsistent with or ‘contrary to any provisions im the Note or ‘the
Morteage, thé provisions of this Agreement shall prevail as between and among the
Collateral Agent, the Servicer and the Lenders.

id}. Suecessors and Assions.

This Agreement shall be binding upon, and inure to the benefit of, the Collateral
Agent, the Servicer andthe Lenders and their respective successors and assigns. [If any

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Lender shall assign or transfer the Obligations owing to it, it shall promptly so notify the
Collateral Agent and the Servicer in writing. No Lender which assigns or transfers any
Obligations owing to’ it shall assign or transfer its benefits under the Collateral
Documents ‘without obtainme from the assignee or transferee and delivering to’ the
Collateral Agent, the Servicer and the Lenders a joinder agreement and an executed
acknowledgment of the assignee or transferee agreeing to be bound by the terms hereof to
the same extent as if it had -been.a Lender on the date hereof. Each assignee or transferee
of any Obligations shall take such Obligations subject to the provisions of this Agreement
and to any request made, waiver or consent given or other action taken or authorized
hereunder by cach previous holder of such Obligations prior to the receipt by the
Collateral Agent and the Servicer of written notice of such assignment or transfer; and,
except as expressly otherwise provided in such notice, the Collateral Agent and/or the
Servicer shall be entitled to assume conclusively that the assignee or transferee named in
such notice shall thereafier be vested with all rights and powers as a Lender under this
Agréement (and the Collateral Agent and the Servicer may conclusively assume that no
Obligations have been subject to any assignment or transfer other than transfers. of which
the Collateral Agent and the Servicer have received such a notice). Upon the written
request of any Lender or the Company, the Collateral Agent and the Servicer will provide
“% such Lender and the Company with copies of any written notices of transfer. received
pursuant hereto.

(e). Continuing EK fectiveness.

This Agreement shall continue to be effective among’ the Collateral Agent, the
Servicer and the Lenders even though a case 6r proceeding under any bankruptcy or
insolvency law or any proceeding in the nature of a receivership, whether or not under
any insolvency law, shall be instituted with respect to the Comipany or arry portion of the
property or assets. of the Company, and all actions taken by the Collateral Agent with
respect t to the Cc ollateral or by the Collateral Agent, the Servicer and the 1 enders with

 

however, that. nothing herem shall be imterpreted to prectude any ender from. fae a
proof of claim with respect to its Obligations or from casting its vote, or abstaining from
voting, for or against confirmation of a plan of reorganization ina case of bankruptcy,
insolvency or similar law in its sole discretion.

() Further Assurapeces.

Each party and the Company agrees to-do such further acts and things and to exectite
and deliver such additional agreements, powers and instruments as necessary or as any
Lender or the Collateral Agent or the Servicer may reasonably request to carry ito effect
the terms, provisions and purposes of this Agreement or to. better assure and confirm unto
the Collateral Agent or the Servicer or any of the other Lenders their respective rights,
powers and remedies hereunder.

ig) Counterparts.

This Agreement may be executed in.any number of counterparts, all of which taken

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together shall constitufe.one and the same agreement, and any of the parties hereto may
: execute. this Agreement by signing any such counterpart. Delivery of an executed

Sa counterpart of.a signature page to this Agreement by. telecopier or pdf shall be effective
0 : as delivery of a manually executed counterpart of this Agreement.

(nh) Effectiveness.

This Agreement shall become effective immediately upon execution hereof by the
Collateral Agent, the Servicer, the Required Lenders and the Company, and shall
continue in full force and effect until 91 days following the date upon which all
Obligations are irrevocably paid and satisfied in full; provided that, if the Obligations due
and owing to-a Lender have been: paid and. satisfied im full, then such Lender ‘shall be
deemed released from this Agreement without any further action being necessary. Any
such released Lender shall give the Collateral Agent notice of such release. but the failure
io give such notice shall not affect such release.

 

@ Governing Law.

THIS AGREEMENT SHALL BE CONSTRUED AND ENFORCED IN
aks ACCORDANCE WITH, AND THE RIGHTS OF THE PARTIES SHALL BE
Boe * GOVERNED BY,.THE INTERNAL LAW. OF THE STATE OF TLLINOIS,
EXCLUDING. CHOICE-OF-LAW. PRINCIPLES OF THE LAW. O&. SUCH
STATE. THAT WOULD PERMIT THE APPLICATION. OF THE LAWS OF A
JURISDICTION OTHER-THAN SUCH STATE.

(j). Jurisdiction.

G) Each party hereto irrevocably submits to the non-exclusive jurisdiction of
any [Hlinois state or federal court sitting in Cook County, Mlinois, over any suit, action or
proceeding arising out of or relating to this Agreement or any of the agreements,
documents or instruments delivered in connection herewith or therewith. To the fullest
extent permitted by applicable law, the parties hereto irrevocably waive and agree not to
assert, by way of motion, asa defense or otherwise, any claim that it 1s not subject to the
jurisdiction of any such court, any objection that it may now.or. hereafter have to the
laying of the venue of any such suit, action or proceeding brought im any such court and
any claim that.any such suit, action.or proceeding brought. in any such court has been
brought in an.inconvenient fonim.

Gi) Nothing in this Section 16() shall affect the sight that the Collateral Agent,
the Servicer or any of the Lenders to serve process m any manner permutied by law, or
limit any night that any party hereto may have to bring proceedings against the Company
in the courts..of any appropriate jurisdiction..or to. enforce im. any lawful manner a
judgment obtained in one jurisdiction in any other jurisdiction.

(iii) THE. PARTIES HERETO. IRREVOCABLY WAIVE ALL RIGHT. TO
TRIAL. BY’ JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF
OR RELATING TO THIS AGREEMENT OR ANY OTHER AGREEMENT,

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DOCUMENT OR INSTRUMENT DELIVERED IN CONNECTION HEREWITH OR
THEREWITH OR THE ACTIONS OF THE LENDERS, THE COLLATERAL AGENT
OR THE SERVICER IN THE NEGOTIATION, ADMINISTRATION,
PERFORMANCE OR ENFORCEMENT HEREOF OR THEREOE.

(k) Headings; Sections.

Headings of Sections of this Agreement have been included herein for convenience
only and should not be considered in interpreting this Agreement. Unless stated
otherwise in this Agreement, references in this Agreement to Sections are references to
Sections of this Agreement.

0}. Ne Isaplied Beneficiaries.

ee. Nothing in this Agreement (except Section 16{b)), expressed or implied, is intended
: or shall be construed to. confer upon or give to any Person, other than the Lenders, the
Collateral Agent and the Servicer, any right, remedy or claim under or by reason of this
Agreement or any covenant, condition or stipulation herein contained.

(m) Severability.

If any provision of this Agreement shall be held or deemed to be; or shall in fact be,
inoperative or umenforceable as applied in any particular case in any jurisdiction, or
because it conflicts with any other provision or provisions hereof or with any constitution
or Statute or rule of public policy, or for any other reason, such’ circumstance ‘shall not
have the effect of rendering the provision in question inoperative or unenforceable in any
other cas¢ or circumstance, or rendering any other provision herein’ contamed wivalid,
moperative or unenforceable to:any extent whatsoever. Upon ihe determination that any
term or other provision of this Agreement is invalid, dlegal or incapable of bemg
enforced, the parties hereto shall negotiate in good faith to modify this Agreement $0 as
ee "to give effect to their origial intention as closely as possible in an acceptable manner to
Se "the end that the transactions contemplated hereby are fulfilled to the maximum extent

possible.

() Oblieations Individual.

The obbgations and ‘representations and  warratities of the Collateral Agent, the
Servicer and each of the Lenders herein are: made by each of them individually. Nothing
herein contained shall be construed as creating among the Lenders, or among the
Collateral Agent, the Servicer and the Lenders, a partnership, joint venture or other jount
associahion.

(o) No Obligation to Extend. Credit.
No provision of this Agreement shall be construed as obligating the Collateral Agent,

the Servicer or any Lender to advance any monies or otherwise extend credit to the
Company al eny time.

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(p) Representations of Parties.

Each: of the Lenders, the Collateral Agent and the Servicer, severally and not jomtly,
represents and warrants to the other parties hereto that such party has all requisite power
and capacity to execute, deliver and perform this Agreement and that the execution,
S delivery and performance of this Agreement has been duly authorized by. all necessary
ook action on the part of such party and that this Agreement. constitutes the legal, valid and
= ' binding obligation of such party, enforceable against such: party in accordance with its
terms except as such enforceability may be limited: by. (ij) bankruptcy, insolvency,
reorganization or similar laws affecting the enforcement of creditors’ rights generally and
Gi) general principles of equity (regardless of whether such enforceability. is considered
i a proceeding in equity or law),

(q) Limitation of Liability Due to Forces Beyond Collateral Agent’s or Servicer’s
Control.

In no event shall the Collateral Agent or the Servicer be responsible or liable for any
failure or delay in the performance of its obligations hereunder arising out of or caused
by, directly or indirectly, forces beyond its control, including, without limitation, strikes,
work stoppages, accidents, acts of war or terrorism, civil or military disturbances, nuclear
or natural catastrophes or acts of God, and interruptions, loss or malfimetions of utilities,
communications or computer (software and:-hardware) services; it being understood that
the Collateral. Agent and the Servicer shall use reasonable eflorts which are consistent
with accepted practices in the banking industry to resume performance as soon. as
practicable under the circumstances.

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WITNESS WHUIEREOP, the Collateral Agent, the Servicer and the Lenders
have executed or caused this Agreemient to..be duly. executed and delivered by. their
respective officers thereunto duly authorized, all as of the date first above written.

   

COLLATERAL AGENT:

HARD MONEY COMPANY, LILC, as Collateral Agent on
behalf ofthe Lenders listed below

BY: po DipeaSignedl byt
PA.
Name: \caserrindecetene.
Shaun Cohen

‘Tithe:

SB - Presigent

SERVICER:
HARD MONEY COMPANY, LLC, as Servicer

By: PO NEES et ep:

Fy

ee oe

: - of =
Name:  s_yecriaceeuce:.

Sheun Cohen
Title:
President

[Signature Page to Collateral Agency and Servicing Agreement]

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LENDERS:

 

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. Wallies

Name: “5 gSeanines

 

Title:

By

 

Namie:

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Oe
host

By:

Name:

[Signature Page to Collateral Agency Agreement]

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aes ACKNOWLEDGED. CONSENTED AND AGREED TO:

 

 

 

 

CAIVP ANY:
EQUITYBUILD, INC.
ame \L cReaRebranminen,..
Jerry Cohen
Tile:
CEO
ge . (Signatucc Page to Collateral Agency Agreement!
2)

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SCHEDULE |

COLLATERAL AGENT FEE SCHEDULE

Section L: Payouts
All payouts paid by check.

if client requests different method, fees are as follows:

& e Wire funds: $50
see ® Overnight check: $50
ae @ Direct deposit: No tee

Seetion 2: Bavewts

If client requests. principal back prior to loan maturation date (and request granted), client
must pay penalty equal to 3% of the amount being retumed.

Hard Money Company (IMC) reserves the right to extend the note upon maturity or any
subsequent extension maturities. At that time, anyone who wishes to not participate in
the extension may recetve a buy out and the 3% fee will be waived.

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SCHEDULE I

ADDRESSES POR. NOTICES

{fto Hard Money Company, LLC, as either Collateral Agent or Servicer:

Hard Money Company, LLC
[Address] 5068 West Plano Pkwy. #300
Plano, TX 75093
Attention: [Shaun Cohen]
Facsimile: [ :
E-mail: [shaan@equitybuildfinance. com]

Ifto the Lenders:

LAddress]
Attention: |.)
Paesumiles: [o..e: al

Reread: feboreh@ chrneie:

Investments ala

 

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[Address]

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DNeme
[Address]
Attention; [od

Facsimile, |]
E-mail: [|

If to the Company:
EquityBuild, Inc.
(Address| 1083 N Collier Blvd. #132
Marco Island, FL 34144
Attention: Derry Cohen]
Facsimile: |
E-mail: ven@equisybella com]

 

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Signer Events...

. Elizabeth Kammerer

elizabeih@equilybuldiinance.com *

” Senior Accounts Manager

EquityBuiid, inc.

Security Level: Email, Account Authentication
(None)

Electronic Record and Signature Disclosure:
Not Offered via DocuSicn

Jerry Cohen
Jerry@equitybuild.com
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Deborah L. Muttica

: deborah@mulica net

Security Leveh Email, Account Authentication
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ID: 8224%482-d892-4ba0-ad@S-ed¥4ebiGa7ia

in Person Signer Events

Holder: Elizabeth Kammerer
docs@equitybulld.com

Holder: EquitySulld Documents Team
docs@equiltybulld.com

Signature
Completed

Using iP Address: 99,99.198.196

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| tua fai
| Joey Wake

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Using IP Address: 76.101 168.108

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Using iP Address: 71.170.52.145
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* Sales Engineer

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